Case 2:09-cr-00117-WFN   ECF No. 289   filed 01/26/11   PageID.1200 Page 1 of 6
Case 2:09-cr-00117-WFN   ECF No. 289   filed 01/26/11   PageID.1201 Page 2 of 6
Case 2:09-cr-00117-WFN   ECF No. 289   filed 01/26/11   PageID.1202 Page 3 of 6
Case 2:09-cr-00117-WFN   ECF No. 289   filed 01/26/11   PageID.1203 Page 4 of 6
Case 2:09-cr-00117-WFN   ECF No. 289   filed 01/26/11   PageID.1204 Page 5 of 6
Case 2:09-cr-00117-WFN   ECF No. 289   filed 01/26/11   PageID.1205 Page 6 of 6
